  

JS 44 (Rev. 02/19)

CIVIL COVER SHEET

The 38 44 civil cover sheet and the info: iiéccin neither re place nor supplement the filing and service of pleadings or other papers as required by Jaw, except as
provided by local rules of court. This fornt, approved by the Judicial Couference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil dockel sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM.)

I (a) PLAINTIFFS DEFENDANTS

Dennis Jackson Jerome Nolan, Truck Brothers Interstate Incorporated; and
Brothers, Inc.

(b) County of Residence of First Listed Plaintiff in County, PA County of Residence of First Listed Defendant Milwaukpé

(EXCEPT IN US. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND ENVOLVED.

 

  
       

  
 
   

   

(c) Attorneys (Firm Name, Address, and Telephone Number) Atiomeys (if Known)

Metzger, Wickersham, Knauss & Erb, P.C., 23
P.O, Box 69200, Harrisburg, PA 17106-9200; {

  
  

| Paxtgh Church Road,
17) 238-8187

 

 

 

  
  
 

 

 

       

  

 

 

 
   

   
     

 

     

 

 

IL. BASIS OF JURISDICTION (Place an “x” in Que Box Oniy) If, CITIZENSHIP OF INCIPAL PARTIES (Place an ‘X” in One Box for Plaintiff
(For Diversity Cases 9 and One Box for Defendant)
Oo} U.S. Government 3 | Federat Question DEF PTF DEF
Plaintiff (U8. Government Nota Party) Citizen of This State 1 Incorporated or Principal Place O4 od
of Business In This State
O 2 U.S. Government et Diversity Citizen of Another State 2 Incorporated and Priacipal Place gi as
Defendant (ndicate Citizenship of Parties in Item HD) of Business In Another State
Citizen at Subject ofa q O 3 Foreign Nation G6 4
Foreipn Country
IV, NATURE OF SUIT, (Place an 1 One Box On) Click here for: Nature of Suit Code Deseriptior
CONTRA: PORTEILURMPENAET
4 310 Insurance PERSONAL INJURY PERSONAL INJURY = [9 625 Drug Related Seizure 1) 422 Appeal 28 USC 158 1 375 Faise Claims Act
0 120 Marine G 310 Airplane OG 365 Personal Injury - of Property 21 USC 881 |] 423 Withdrawal OF 376 Qui Tam (31 USC
OF 30 Miller Act C7 3145 Aimlane Product Product Linbility 17 690 Cther 28 USC 157 3729(a})
0 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportiomment
OF 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceitical | SEY: S10] 410 Anticrust
& Enforcement of Judgment Slander Persoual Injury OJ 820 Copyrights 1 430 Banks and Banking
GES] Medicare Act OF 330 Federal Employers’ Product Liability {J 830 Pateat f] 450 Commerce
7 £52 Recovery of Defautted Liability G 368 Asbestos Personal 1 835 Patent - Abbrevinted 1 460 Deportation
Student Loans OF 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
{Excludes Veterans} §} 345 Marine Product Liability 0 840 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY © 480 Consumer Credit
of Veteran's Benefits 2) 350 Motor Vehicle 370 Other Fraud 771 730 Fair Labor Standards {7 86: HIA (13951 1 485 Telephone Consumer
160 Stockholders’ Suits 0/335 Motor Vehicle 371 Frath in Lending Act O 862 Black Lung (923} Protection Act
CJ 190 Other Contract Product Liability C) 380 Other Personal {7 720 Labor/Management 0 863 DIVC/DIWW (405(2)) | 496 Cable/Sat TY
195 Contract Product Liabilit 360 Other Personal Property Damage Relations 0) 864 SSID Title XVI £1 850 Securities/Commodities/
1 196 Franchise injury (2 385 Property Damage 7 740 Railway Labor Act 01 865 RSI (405(g)) Exchange
(7 362 Personal Injury - Product Liability OG 751 Family and Medical 1 890 Other Statutory Actions
Medical Malpractice Leave Act 0 891 Agricultural Acts
CIVIERIGHT: EPRISONER PETITIONS] 790 Other Labor Litigation AEE PAX SUE O 893 Environmental Matters
q 210 Land Condemnation O 440 Other Civil Righis Habens Corpus: 5 791 Employee Retirement 1 870 Taxes (. S. Plaintiff 1 895 Freedom of Information
& 220 Foreclosure 01 441 Voting 17 463 Alien Desninee Encome Security Act or Defendant) Act
£7 230 Rent Lease & Hjechnent 0 442 Employment 510 Motions to Vacate CJ a7 IRS—Third Party C1 896 Arbitration
0 240 Torts to Land O 443 Housing? Sentence 26 USC 7609 [1 899 Administrative Procedure
0 245 Tort Product Liability Accommedations G 536 General AcUReview or Appeal of
C7 290 All Other Real Property CF 445 Amer, w/Disabilities -| (1 535 Death Penalty IMEGRATI Agency Decision
Employment Other: 9 462 Naturalization Application CF 950 Constinutionality of
G 446 Amer. w/Disabilities «| 540 Mandamus & Other 7 465 Other Immigration State Statutes
Other O 580 Civil Rights Actions
A 448 Education © 555 Prisons Condition
O 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

   
 
  

 

V. ORIGIN (Piece an “X° in One Box Only)

 

 

 

 

 

 

 

 

 

 

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specif?) Transfer Diseot File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes yatess diversify:
28 U.S.C. 1332
CAUSE OF ACTION
Brief description of cause:
Personal injury sustained in a motor vehicle accident caused by Defendants
VIL. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only fiFdomen led in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. > 75,001.00 JURY DEMAND Yes No
VL RELATED CASES
Ir ANY ( ) (See instrnetions): AY 2 8 2015
? TUBGE DOCKET NUMBER tte
DATE
¥f23}14
FOR OFFICE USE ONLY

 

RECERT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
| Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 2 of 27

% ‘ UNITED STATES DISTRICT COURT tf

  
   
 

Wk THE EASTERN DISTRICT OF PENNSYLVANIA

      

5 DESIGNATION FORM

 

 

amg 3 cel
(to be used by counsel yBpro se plaintiff to indicate the category of the case for the purpose of assignment to the appiopriate ealenttfar)
address of Plaintiff: Dennis Jackson, 800 Yale St., Apt. 201, Harrisburg, PA 17111
Address of Defendant: Jerome Nolan, 834 N. 35th St., Milwaukee, WI 53208 (see page 2)

 

Place of Accident, Incident or Transaction: Rte 78, Upper Macungie Twp, Lehigh County, Pefinsyivania

CG

Case Number: Judge: Date Terminated?

 

RELATED CASE, IF ANY:

  

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| nol |
previously terminated action in this court?

2. Does this case involve the same issue of fact or prow out of the same transaction as a prior suit Yes [ ] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ | No [ |
case filed by the same individual?

    

L certify that, to my knowledge, the within case Cis 7 [9] js not related to any case now pending or within one year previously terminated action in

this court except as noted above. QO ,
05/23/2019 Soc eC HA

 

93177

DATE: :
NL Drorney-at-Law / Pro Se Plaintiff Attorney LD. # (Gf applicable)

 

 

 

CIVIL: @lace a Vin one category only)

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
oO 1. Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts
[.] 2. FELA Airplane Personal Injury
LI 3. Jones Act-Personal Injury Assault, Defamation
{[] 4. Antitrust Marine Personal Injury
H 5. Patent Motor Vehicle Personal Injury

6. Labor-Management Relations Other Personal Injury (Please specify): __
[} 7. Civil Rights Products Liability
C} 8. Habeas Corpus Products Liability -- Asbestos

9. Securities Act(s) Cases . All other Diversity Cases
H iG. Social Security Review Cases (Please specifiy: _.
[] 11. All other Federal Question Cases

{Please specify);

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

1 J Zachary D. Campbell

, counsel of record or pro se plaintiff, do hereby certify:

 

 
 
 

 

ursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $156,000.00 exclusive of interest and casts:

Relief other than monetary damages is sought. M ay ? 8 2015

   

St heel 93177
¢ Shorties Law / Pro Se Plaintiff Atiorney LD. # (ff applicable)

NOTE: A trial de novo will be « trial by jury only if there has been compHance with F.R-C\P. 38.

pate. 00/23/2019

 

 

 

 

Oly, 609 (S028)
 

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Page 2 — Designation Form
Address of Defendant:

Jerome Nolan, 834 North 35' Street, Milwaukee, WI 53208; or
40 Briarwood Avenue, Keansburg, NJ 07734

Truck Brothers Interstate Incorporated, 1912 Clydesdale Drive,
Wheaton, IL 60189

Truck Brothers, Inc., 1912 Clydesdale Drive, Wheaton, IL 60189
 

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_ IN THE UNITED STATES DISTRICT COURT
“FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Dennis Jackson CIVIL ACTION

Y.

 

Jerome Nolan, et al.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants, (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shail, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ()

(ec) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) (
(f) Standard Management — Cases that do not fall into any one of the other tracks. of,
05/23/2019 Zachary D. Campbell Plaintiff
Date Attorney-at-law Attorney for
(717) 238-8187 (717) 234-9478 zdc@mwke.com
Telephone FAX Number E-Mail Address

(Civ, 660} 10/02

MAY 28 2019
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 5 of 27

 

   

UNITED STATES DISTRICT COURT .-
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DENNIS JACKSON
800 Yale Street
Apartment 201
Harrisburg, PA 17111

Plaintiff - CIVIL ACTION NO,
v. - ASSIGNED TO JUDGE

JEROME NOLAN

834 North 35" Street

Milwaukee, WI 53208
-or-

40 Briarwood Avenue

Keansburg, NJ 07734

TRUCK BROTHERS
INTERSTATE INCORPORATED
1912 Clydesdale Drive

Wheaton, IL 60189
 

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TRUCK BROTHERS, INC,
1912 Clydesdale Drive
Wheaton, IL 60189

Defendants - JURY TRIAL DEMANDED

COMPLAINT
AND NOW, comes the Plaintiff, Dennis Jackson, by and through his
attorneys, Metzger, Wickersham, Knauss & Erb, P.C., and respectfully represent
the following:

FACTS APPLICABLE TO ALL COUNTS

1. Plaintiff, Dennis Jackson, is an adult individual, who resides at 800
Yale Street, Apartment 201, Harrisburg, Dauphin County, Pennsylvania.

2. Defendant, Jerome Nolan, is an adult individual with a last known
address of 834 North 35" Street, Milwaukee, Wisconsin; or 40 Briarwood Avenue,
Keansburg, New Jersey.

3. Defendant, Truck Brothers Interstate Incorporated, is an Illinois
corporation with an office and place of business at 1912 Clydesdale Drive,
Wheaton, Illinois.

4, Defendant, Truck Brothers, Inc., is an Illinois corporation with an
office and place of business at 1912 Clydesdale Drive, Wheaton, Illinois.

5. At all times herein and material hereto, Defendant, Jerome Nolan, was

the duly authorized agent, servant, workman and/or employee of Defendant, Truck
 

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Brothers Interstate Incorporated and/or Truck Brothers, Inc., acting within the
course and scope of his employment, and their authority and/or for a purpose
and/or for the benefit of Defendant, Truck Brothers Interstate Incorporated and/or
Truck Brothers, Inc.

6. At all times relevant hereto, and at the time of the accident described
herein, Defendant, Truck Brothers Interstate Incorporated and/or Truck Brothers,
Inc., controlled and had a right to control the manner in which Defendant, Jerome
Nolan, performed his employment duties, including the operation of his tractor-
trailer on the highway and all other aspects of his employment.

7. This Court has jurisdiction of this action under 28 U.S.C. 91332,
Diversity of Citizenship.

8. The amount in controversy exceeds the sum or value of $75,000.00,
exclusive of interest and costs and is between citizens of different states,

9, The facts and circumstances hereinafter set forth occurred on June 24,
2017, at or about 1:40 A.M. on Interstate 78, Upper Macungie Township, Lehigh
County, Pennsylvania.

10. At the aforesaid time and place, Plaintiff, Dennis Jackson, was the
owner and operator of a 2013 Volvo tractor bearing Pennsylvania License Plate

No, AG58783 having a 2007 Wabash National trailer.
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11. At the aforesaid time and place, Defendant, Jerome Nolan, was the
operator of a 2005 Volvo tractor bearing Illinois License Plate No. P916817 having
a 2017 Vanguard trailer.

12. At the aforesaid time and place, Defendant Nolan was operating the
2005 tractor and 2017 trailer with the permission of Defendants, Truck Brothers
Interstate Incorporated and/or Truck Brothers, Inc., and within the scope of his
authority and employment with said Defendants, who had the right to control his
operation of the tractor-trailer under applicable governmental laws and regulations.

13, At the aforesaid time and place, the 2005 Volvo tractor operated by
Defendant, Jerome Nolan, was owned by Defendant, Truck Brothers Interstate
Incorporated and/or Truck Brothers, Inc.

14. At the aforesaid time and place, the tractor-trailer operated by Plaintiff
was traveling west, in the left-hand lane of Interstate 78, in Upper Macungie
Township, Lehigh County, Pennsylvania.

15. At the aforesaid time and place, Defendant, Jerome Nolan, was
traveling east, in the left-hand lane of Interstate 78, in Upper Macungie Township,
Lehigh County, Pennsylvania.

16. Defendant, Jerome Nolan, approached a right curve in the roadway at

a high rate of speed while it was raining.
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17. As Defendant, Jerome Nolan, attempted to negotiate the curve, he lost
control of his tractor-trailer and crashed through the median and into the
westbound lanes of Interstate 78.

18. Defendant, Jerome Nolan’s trailer struck Plaintiff's tractor.

19. Plaintiff sustained damages and injuries as a result of collision.

COUNT I
Dennis Jackson v. Jerome Nolan

20, Paragraphs 1 through 19 hereof are incorporated herein by reference
as if fully set forth.

21. Defendant, Jerome Nolan, either individually and/or jointly and
severally, owed a duty to Plaintiff, Dennis Jackson, and other lawful users of the
roadways in the Commonwealth of Pennsylvania to operate the tractor-trailer he
was driving in such a way as not to cause harm or damage to the Plaintiff.

22. The aforesaid collision was the direct and proximate result of the
negligence of the Defendant, Jerome Nolan, in operating the 2005 Volvo tractor-
trailer in a careless and negligent manner as follows:

a. Failing to drive on the right side of the roadway in violation of
75 Pa. C.S.A. §3311 and applicable law,

b. Driving over, across or within a dividing space, barrier or
section in violation of 75 Pa. C.S.A. §3311 and applicable law;

c. Failing to drive on the right side of the roadway in violation of
75 Pa. C.S.A. §3301 and applicable law;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 10 of 27

k.

Driving on the left side of the roadway when not safe to do so
in violation of 75 Pa. C.S.A. §3306 and applicable law;

Driving on the left side of the roadway within a no passing zone
in violation of 75 Pa.C.S.A. §3307 and applicable law;

Failing to pass to the right in violation of 75 Pa.C.S.A. §3302
and applicable law;

Failing to take proper precautions where there was water on the
roadway;

Failing to properly handle or avoid a hydroplane,
Failing to be attentive to conditions on the roadway;

Operating the tractor-trailer in careless disregard for the safety
of persons and/or property in violation of 75 Pa.C.S.A. $3714
and applicable law,

Failing to drive the tractor-trailer in a single lane and moving
from the lane when he could not do so safely in violation of 75
Pa. C.S.A. §3309(1) and applicable law;

Failing to drive at a safe speed for conditions including a curve,
narrow or winding roadway and/or weather conditions in
violation of 75 Pa. C.S.A. §3361 and applicable law;

Failing to yield to Plaintiff's tractor-trailer;

Failing to return his tractor-trailer to the authorized lane of
travel as soon as practicable and without interfering with
Plaintiff's tractor-trailer in violation of 75 Pa. C.S.A. §3305 and
applicable law;

Failing to yield the right-of-way to oncoming traffic;

Not being familiar with the route of travel or not utilizing
proper directions;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 11 of 27

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Failing to observe Plaintiff's tractor-trailer on the roadway;

Failing to maintain adequate control of the tractor-trailer he was
operating in order to avoid a collision,

Failing to give warning to Plaintiff of his impending collision
with Plaintiff's tractor-trailer;

Failing to keep his tractor-trailer under proper and adequate
control so as not to expose other users to an unreasonable risk

of harm;

Failing to keep alert and maintain a proper lookout for the
presence of other motor vehicle on the streets and highways;

In failing to yield the right-of-way to traffic already upon the
highway;

In operating the tractor-trailer so as to create a dangerous
situation for other motor vehicles on the roadway;

Failing to pay attention or keep alert for other motor vehicles on
the roadway;

Driving too fast for conditions;
Over/under compensating at a curve in the roadway;

Operating the tractor trailer when it is not safe to do so because
of weather conditions;

Failing to inspect, maintain and ensure an adequate braking
system in the tractor trailer;

Driving his vehicle at an unsafe speed under the conditions and
hazards existing in violation of 75 Pa.C.S.A. §3361 and
applicable law;

Failing to have his vehicle under proper and adequate control;
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Operating his vehicle at an excessive rate of speed under the
circumstances;

Cutting off Plaintiffs vehicle;

Driving through the concrete median of the highway;
Improperly changing lanes;

Operating his vehicle while distracted;

Exceeding the maximum lawful speed on the roadway in
violation of 75 Pa.C.S.A. §3362 and applicable law;

Failing to obey traffic control devices in violation of 75 Pa.
C.S.A. §3111 and applicable law;

In failing to apply the brakes to the tractor-trailer he was
operating or take other evasive action to avoid a collision with

Plaintiffs tractor-trailer;

Failing to have a safe and operative braking system in violation
of 75 Pa. C.S.A. §4502 and applicable law;

Failing to properly negotiate the curve in the road;

Failing to drive at a safe speed to negotiate the roadway and
avoid other traffic;

Cutting the corner and losing control of the tractor trailer;
Failing to slow down around the curve,

In failing to operate his tractor-trailer with a higher standard of
care as required by a commercial driver;

In failing to keep the tractor-trailer within the proper lane;

Colliding into Plaintiffs tractor-trailer;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 13 of 27

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Operating his tractor-trailer at an unsafe speed in violation of
Part 392.6 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation in violation of 49 CFR §392.6;

Failing to comply with the operating rules of Pennsylvania or of
the U.S. Department of Transportation Federal Motor Carrier
Safety Regulation in violation of 49 CFR §392.2;

Operating his tractor-trailer in an unsafe condition in violation
of Part 396.7 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation;

Operating the tractor-trailer while tired, fatigued and/or under a
physical or mental condition that impaired his ability to safely
operate the vehicle in violation of 49 CFR §392.3;

Operating his tractor-trailer in an unsafe mamner in violation of
69 Pa. Code §229 and 69 Pa. Code §231;

Operating his tractor-trailer, or failing to take the necessary
precautions under hazardous conditions in violation of 49 CFR
§392.14;

Driving the tractor trailer when not qualified to do so in
violation of 49 CRF §391.11;

Failing to have the knowledge and skills necessary to operate
the tractor trailer safely in violation of 49 CFR §383.110; 49
CFR §383.111(a), (b), (c); and 49 CFR §383.113;

Failing to have an adequate brake system on the tractor trailer
in violation of 49 CFR $393.40;

Failing to properly maintain and inspect the tractor trailer to
ensure it was in a safe operating condition in violation of 49
CFR §396.3 and §396.13;

Operating his tractor-trailer while using an interactive wireless
communications device in violation of 75 Pa. C.S.A. §3316 and
applicable law;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 14 of 27

fff. Texting while driving in violation of 75 Pa. C.S.A. §1621 and
49 CFR §392.80;

ege. Operating his tractor-trailer while using a handheld mobile
telephone in violation of 75 Pa. C.S.A. §1622 and 49 CFR
§392.82; and

hhh. Failing to comply with commercial driver requirements in
violation of 75 Pa. C.S.A. §1601 to §1620 and applicable law.

23. Asa direct and proximate result of the collision and the negligent and
careless conduct of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, sustained and in the future may sustain,
serious and debilitating injuries, some of which are or may be permanent, an
aggravation and/or exacerbation of pre-existing conditions, and which include, but
are not limited to, the following:

Head pain/injury;
Headaches;

Right shoulder pain/injury;
Right arm pain/injury;
Right knee pain/injury;
Right leg pain/injury;
Right upper tooth injury;
Back pain/injury; and
Abrasions/lacerations.

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24, Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and

severally, Plaintiff, Dennis Jackson, has undergone and in the future will undergo
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 15 of 27

physical pain, mental anguish, discomfort, inconvenience, distress, embarrassment
and humiliation, past, present and future loss of his ability to enjoy the pleasures of
life and limitations in his pursuit of daily activities for which damages are claimed.
25. Aga direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, has and/or may in the future incur expenses
for medical treatment, surgery and rehabilitation for which damages are claimed.
26. Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, has and/or may in the future incur a loss of
income, a loss of future earning capacity, loss of future productivity, loss of
household services, and other economic damages for which damages are claimed.
27. Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, has lost the use of his tractor to earn a living
for which damages are claimed.
28. Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and

severally, Plaintiff, Dennis Jackson, has sustained a permanent serious impairment
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 16 of 27

which will require future medical treatment and medical appliances for which
damages are claimed.

29. Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, has and/or may in the future incur a loss of
household services and other economic damages for which damages are claimed.

30. As a direct and proximate result of the aforesaid collision and the
negligence and carelessness of Defendant, Jerome Nolan, either individually and/or
jointly and severally, Plaintiff, Dennis Jackson, sustained incidental costs and
losses to include, but not limited to, mileage and transportation costs, past and
future medication costs and medical appliance costs for which all damages are
claimed.

31. Asa direct and proximate result of the aforesaid collision, negligence
and carelessness of Defendant, Jerome Nolan, either individually and/or jointly and
severally, Plaintiff, Dennis Jackson, has been, or may in the future be, scarred,

deformed and disfigured for which damages are claimed.

WHEREFORE, Plaintiff, Dennis Jackson, demands judgment in his favor
and against Defendant, Jerome Nolan, either individually and/or jointly and

severally, for the aforesaid damage which exceeds Seventy-Five Thousand Dollars
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 17 of 27

($75,000.00), exclusive of interest and costs, plus damages for delay, costs and

interest incurred in this action.

COUNT HI
Dennis Jackson v. Truck Brothers Interstate Incorporated

32. Paragraphs 1 through 30 hereof are incorporated herein by reference
as if fully set forth.

33. At all times relevant hereto, Defendant, Jerome Nolan, was an
employee, servant, workman and/or agent of Defendant, Truck Brothers Interstate
Incorporated, and was acting within the scope of his employment with Defendant,
Truck Brothers Interstate Incorporated. Defendant, Truck Brothers Interstate
Incorporated, either individually and/or jointly and severally, is therefore
vicariously liable for his acts, commissions or omissions as though it performed the
acts, commissions or omissions itself and is subject to the doctrine of respondeat
superior.

34. In addition to being vicariously liable for the acts of its employee,
servant, workman and/or agent, Defendant, Truck Brothers Interstate Incorporated,
either individually and/or jointly and severally, was also negligent and careless as
follows:

a. Failing to properly train its employees, servants, workmen
and/or agents in the operation of its tractor-trailers;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 18 of 27

k.

Failing to provide its employees, servants, workmen and/or
agents with proper directions before allowing them to operate
its tractor-trailers;

Failing to ensure that its employees, servants, workmen and/or
agents are familiar with the roadways and route of travel before
allowing them to operate its tractor-trailers;

Failing to properly supervise or control its employees, servants,
workmen and/or agents while they are operating its tractor-
trailers;

Hiring and/or retaining employees, servants, workmen and/or
agents who may be unfit or incompetent to operate its tractor-
trailers;

Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are
not endangered by the operation of its tractor-trailers by its
employees, servants, workmen and/or agents;

Sending out its employee, servant, workman and/or agent for an
errand or job without proper instructions, directions and
guidance;

Failing to take proper precautions to protect Plaintiff and other
lawful users of the roadway from the negligent and careless
actions of its employees, servants, workmen and/or agents;

Allowing an employee, servant, workman and/or agent who is
incompetent to safely drive its tractor-trailer, due to lack of
training, licensing and/or prior unsafe driving;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while texting in violation of
Part 392 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation in particular 49 CFR §392.80;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a hand-held
 

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mobile telephone in violation of Part 392 of the U.S,
Department of Transportation Federal Motor Carrier Safety
Regulation in particular 49 CFR §392.82;

l, Allowing an employee, servant, workman and/or agent to text
while driving in violation of 75 Pa. C.S.A. §1621 and
applicable law;

m. Failing to enforce its employee manuals and/or training
procedures;

n, Failing to enforce both the written and unwritten policies of

Truck Brothers Interstate Incorporated;

o. Failing to ensure that its employees, servants, workmen, agents
and/or contractors were aware of and complied with the written
and unwritten policies of Truck Brothers Interstate
Incorporated;

p. Failing to ensure that its management personnel and drivers
were aware of the requirements and the dictates of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Tractor-trailer Code;

q. Failing to ensure that its employees, servants, workmen, agents
and/or contractors complied with the provisions of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Tractor-trailer Code;

r Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a handheld
mobile telephone in violation of 75 Pa. C.S.A. §1622 and

applicable law;

S. Failing to use a high degree of care as a commercial carrier in
the operation of its tractor-trailer;

t, Failing to have an adequate brake system on the tractor-trailer
in violation of 49 CFR §393.40;
Case 5:19-cv-02316-JFL Document1 Filed 05/28/19 Page 20 of 27

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Violating equipment standards in violation of 75 Pa. C.S.A.
§4107 and applicable law;

Failing to properly maintain and inspect the tractor-trailer to
ensure it was in safe operating condition in violation of 49 CFR
§396,3 and $396.13;

Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of 49 C.F.R. §383.110-383.113;

Allowing its employee, servant, workman and/or agent to
operate its vehicle in careless disregard for the safety of persons
and/or property in violation of 75 Pa. C.S. §3714 and applicable
law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while tired, fatigued and/or under a physical
or mental condition that impaired its driver’s ability to safely

operate the vehicle in violation of 49 CFR §392.3 and
applicable law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

Failing to ensure the carriers with whom they contract or ship
with that they provide competent drivers to ship its goods and
not endanger other motorists;

Failing to instruct its employee, servant, workman and/or agent
to not operate the vehicle while distracted;

Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle;

Failing to properly train and/or enforce its rules on the proper
precautions to take when drivers encounter hazardous
conditions on the roadway;
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ee. Failing to properly train and/or enforce its rules on the proper
precautions to take when drivers encounter water on the
roadway;

ff. Failing to properly train and/or enforce its rules on the speed to
drive when encountering water on the roadway or during
hazardous conditions;

gg. Failing to properly train and/or enforce its rules on how a driver
should handle a hydroplane situation; and

hh. Allowing drivers to violate hours of service requirements or
exceed maximum highway speeds in violation of State and

Federal Motor Vehicle Carrier Regulations.
35, As aresult of the aforesaid negligence and carelessness of Defendant,

Truck Brothers Interstate Incorporated, either individually and/or jointly and

severally, Plaintiff, Dennis Jackson, sustained the aforesaid damages.

WHEREFORE, Plaintiff, Dennis Jackson, demands judgment in his favor
and against Defendant, Truck Brothers Interstate Incorporated, either individually
and/or jointly and severally, for the aforesaid damage which exceeds Seventy-Five
Thousand Dollars ($75,000.00), exclusive of interest and costs, plus damages for

delay, costs and interest incurred in this action.
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COUNT Ik
Dennis Jackson v. Truck Brothers, Inc.

36. Paragraphs | through 34 hereof are incorporated herein by reference
as if fully set forth.

37. At all times relevant hereto, Defendant, Jerome Nolan, was an
employee, servant, workman and/or agent of Defendant, Truck Brothers, Inc., and
was acting within the scope of his employment with Defendant, Truck Brothers,
Inc. Defendant, Truck Brothers, Inc., either individually and/or jointly and
severally, is therefore vicariously liable for his acts, commissions or omissions as
though it performed the acts, commissions or omissions itself and is subject to the
doctrine of respondeat superior.

38. In addition to being vicariously liable for the acts of its employee,
servant, workman and/or agent, Defendant, Truck Brothers, Inc., either
individually and/or jointly and severally, was also negligent and careless as
follows:

a. Failing to properly train its employees, servants, workmen
and/or agents in the operation of its tractor-trailers;

b. Failing to provide its employees, servants, workmen and/or
agents with proper directions before allowing them to operate
its tractor-trailers;

c. Failing to ensure that its employees, servants, workmen and/or

agents are familiar with the roadways and route of travel before
allowing them to operate its tractor-trailers;

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k,

Failing to properly supervise or control its employees, servants,
workmen and/or agents while they are operating its tractor-
trailers;

Hiring and/or retaining employees, servants, workmen and/or
agents who may be unfit or incompetent to operate its tractor-
trailers;

Failing to have in place proper procedures, rules, regulations,
protocols or safety measures to ensure that other motorists are
not endangered by the operation of its tractor-trailers by its
employees, servants, workmen and/or agents;

Sending out its employee, servant, workman and/or agent for an
errand or job without proper instructions, directions and
guidance;

Failing to take proper precautions to protect Plaintiff and other
lawful users of the roadway from the negligent and careless
actions of its employees, servants, workmen and/or agents;

Allowing an employee, servant, workman and/or agent who is
incompetent to safely drive its tractor-trailer, due to lack of
training, licensing and/or prior unsafe driving;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while texting in violation of
Part 392 of the U.S. Department of Transportation Federal
Motor Carrier Safety Regulation in particular 49 CFR §392.80;

Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a hand-held
mobile telephone in violation of Part 392 of the US.
Department of Transportation Federal Motor Carrier Safety
Regulation in particular 49 CFR §392.82;

Allowing an employee, servant, workman and/or agent to text
while driving in violation of 75 Pa. C.S.A. §1621 and
applicable law;
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m. Failing to enforce its employee manuals and/or training
procedures;

n. Failing to enforce both the written and unwritten policies of
Truck Brothers Interstate Incorporated;

0, Failing to ensure that its employees, servants, workmen, agents
and/or contractors were aware of and complied with the written
and unwritten policies of Truck Brothers Interstate
Incorporated;

p. Failing to ensure that its management personnel and drivers
were aware of the requirements and the dictates of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Tractor-trailer Code;

q. Failing to ensure that its employees, servants, workmen, agents
and/or contractors complied with the provisions of the Federal
Motor Carrier Safety Regulations and the Pennsylvania Motor
Tractor-trailer Code;

r. Allowing an employee, servant, workman and/or agent to
operate his/her/their tractor-trailer while using a handheld
mobile telephone in violation of 75 Pa. C.S.A. §1622 and
applicable law;

S. Failing to use a high degree of care as a commercial carrier in
the operation of its tractor-trailer,

t. Failing to have an adequate brake system on the tractor-trailer
in violation of 49 CFR §393.40;

u. Violating equipment standards in violation of 75 Pa. C.S.A.
§4107 and applicable law;

v. Failing to properly maintain and inspect the tractor-trailer to
ensure it was in safe operating condition in violation of 49 CFR
§396.3 and §396.13;

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Having commercial vehicle operators who do not have the
required knowledge or skill to safely operate its vehicles in
violation of 49 C.F.R. §383.110-383.113;

Allowing its employee, servant, workman and/or agent to
operate its vehicle in careless disregard for the safety of persons
and/or property in violation of 75 Pa. C.S. §3714 and applicable
law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while tired, fatigued and/or under a physical
or mental condition that impaired its driver’s ability to safely
operate the vehicle in violation of 49 CFR §392.3 and

applicable law;

Allowing its employee, servant, workman and/or agent to
operate its vehicle while distracted;

Failing to ensure the carriers with whom they contract or ship
with that they provide competent drivers to ship its goods and
not endanger other motorists;

Failing to instruct its employee, servant, workman and/or agent
to not operate the vehicle while distracted;

Negligently entrusting a motor vehicle to an individual who had
not been properly trained in the operation of its motor vehicle;

Failing to properly train and/or enforce its rules on the proper
precautions to take when drivers encounter hazardous
conditions on the roadway;

Failing to properly train and/or enforce its rules on the proper
precautions to take when drivers encounter water on the
roadway;

Failing to properly train and/or enforce its rules on the speed to

drive when encountering water on the roadway or during
hazardous conditions;

al
 

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ge. Failing to properly train and/or enforce its rules on how a driver
should handle a hydroplane situation; and

hh. Allowing drivers to violate hours of service requirements or
exceed maximum highway speeds in violation of State and

Federal Motor Vehicle Carrier Regulations.
39. Asaresult of the aforesaid negligence and carelessness of Defendant,

Truck Brothers, Inc., either individually and/or jointly and severally, Plaintiff,

Dennis Jackson, sustained the aforesaid damages.

WHEREFORE, Plaintiff, Dennis Jackson, demands judgment in his favor
and against Defendant, Truck Brothers, Inc., either individually and/or jointly and
severally, for the aforesaid damage which exceeds Seventy-Five Thousand Dollars
($75,000.00), exclusive of interest and costs, plus damages for delay, costs and

interest incurred in this action.

METZGER, WICKERSHAM, KNAUSS & ERB, P.C.

 
      

ILS

SlarP DeVere, Esquire
Attorney I.D, No. 68768
Zachary D. Campbell, Esquire
Attorney LD. No. 93177

2321 Paxton Church Road
P.O. Box 69200

Harrisburg, PA 17106-9200
(717) 238-8187

(717) 234-9478 (fax)

zdc@imwke.com
Dated: & (o-s(e4 Attorneys for Plaintiff

By: :

 

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UNSWORN DECLARATION UNDER PENALTY OF PERJURY

I, Zachary D. Campbell, Esquire, hereby declare that | am the attorney for the
Plaintiff and that the facts in the foregoing Complaint, are true and correct to the best
of my knowledge, information, and belief, I, Zachary D. Campbell, Esquire, further

declare under the penalty of perjury that the foregoing is true and correct.

METZGER, WICKERSHAM, KNAUSS & ERB, P.C.

By: “SB ee
Clark DeVere, Esquire
Attorney I.D. No. 68768
Zachary D. Campbell, Esquire
Attorney I.D. No. 93177
2321 Paxton Church Road
P.O, Box 69200
Harrisburg, PA 17106-9200
(717) 238-8187
(717) 234-9478 (fax)

zdc(@mwke.com
Dated: § [as BA Attorneys for Plaintiff

 
